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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Shlomo Leibovitich, et al.
                                           Plaintiff,
v.                                                          Case No.: 1:08−cv−01939
                                                            Honorable Ruben Castillo
Islamic Republic of Iran, The, et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 9, 2015:


       MINUTE entry before the Honorable Ruben Castillo:Citation hearing held on
9/9/2015 and continued to 12/9/2015 at 9:45 a.m. The citations to discover assets issued as
to BNP Paribas and the Bank of Tokyo are continued generally.Mailed notice(rao, )




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